                         Case 3:13-cv-00453-JST Document 886 Filed 04/25/17 Page 1 of 6




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                 16                                   UNITED STATES DISTRICT COURT
                 17                                 NORTHERN DISTRICT OF CALIFORNIA

                 18                                      SAN FRANCISCO DIVISION

                 19     MARC OPPERMAN, et al.,                       Case No. 13-cv-00453-JST

                 20                     Plaintiffs,                   CLASS ACTION

                 21                                                   STIPULATION AND [PROPOSED] ORDER
                                v.                                    SETTING PAGE LIMITS FOR REPLY
                 22                                                   BRIEF REGARDING PLAINTIFF’S
                        PATH, INC., et al.                            MOTION FOR CLASS CERTIFICATION
                 23                                                   THIS DOCUMENT RELATES TO ALL CASES
                                        Defendants.
                                                                      Opperman v. Path, Inc., No. 13-cv-00453-JST
                 24                                                   Hernandez v. Path, Inc., No. 12-cv-1515-JST
                                                                      Pirozzi v. Apple, Inc., No. 12-cv-1529-JST
                 25                                                   Espitia v. Hipster, Inc., No. 13-cv-0432-JST
                                                                     (collectively, the “Related Actions”)
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      K E R R           Case No.: 13-cv-00453-JST                               STIPULATION AND [PROPOSED] ORDER
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W   A G S T A F F E
        LL P
                         Case 3:13-cv-00453-JST Document 886 Filed 04/25/17 Page 2 of 6




                    1           Pursuant to Civil Local Rule 7-4(b), Plaintiffs in this proceeding and Defendant Apple

                    2   Inc. (collectively, the “Parties”) hereby stipulate as follows:

                    3           1.      The Parties previously stipulated to an order, which this Court issued at ECF No.

                    4   869, that due to the number of legal and factual issues on this motion, Apple shall have an

                    5   additional ten (10) pages for its Opposition over and above what the Local Rules allow, for a

                    6   total of thirty-five (35) pages;

                    7           2.      In that same stipulation, Apple agreed that it would not oppose a request from

                    8   Plaintiffs for an additional ten (10) pages for their Reply brief;

                    9           3.      After reviewing Apple’s Opposition, Plaintiffs believe that their Reply in support

                 10     of their motion for class certification requires discussion of a number of legal and factual issues

                 11     that cannot be addressed within the Local Rules default page limits;

                 12             4.      Counsel for the Parties have met and conferred and agree that an additional ten

                 13     (10) pages for Plaintiffs’ Reply is appropriate.

                 14             NOW THEREFORE, the Parties stipulate as follows:

                 15             Plaintiffs shall have twenty-five (25) pages for their Reply brief.

                 16

                 17     Dated: April 25, 2017                            KERR & WAGSTAFFE LLP
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W   A G S T A F F E
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W   A G S T A F F E
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                         Case 3:13-cv-00453-JST Document 886 Filed 04/25/17 Page 4 of 6




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W   A G S T A F F E
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                         Case 3:13-cv-00453-JST Document 886 Filed 04/25/17 Page 5 of 6




                    1                                            [PROPOSED] ORDER

                    2            PURSUANT TO THE STIPULATION, AND GOOD CAUSE APPEARING, IT IS

                    3   HEREBY ORDERED:

                    4            Plaintiffs’ Reply in support of its class certification motion shall not exceed a total of twenty-

                    5   five (25) pages in length

                    6   Dated:                   , 2017

                    7                                                             ____________________________
                                                                                  The Honorable Jon S. Tigar
                    8                                                             United States District Judge
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W   A G S T A F F E
        LL P
                         Case 3:13-cv-00453-JST Document 886 Filed 04/25/17 Page 6 of 6




                    1                                        FILER’S ATTESTATION

                    2           I attest that concurrence in the filing of this document has been obtained from the other

                    3   signatories listed above.

                    4   Dated: April 25, 2017                              By: /s/ Michael von Loewenfeldt
                                                                               Michael von Loewenfeldt
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